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                                                 CIVIL COVER SHEET
JS 44 (Rev. 12/12) (Modified by FLSD - April 29, 2013)

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a)     PLAINTIFFS Dulce Rojas, individually and as natural guardian                                      DEFENDANTS
                                                                                                                                        UNITED STATES OF AMERICA
                      and parent of A.G.R., a minor

   (b) County of Residence of First Listed Plaintiff Miami Dade                                              County of Residence of First Listed Defendant                Miami-Dade
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                            (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                             NOTE:                       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                         THE TRACT OF LAND INVOLVED.
  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
  Gamba, Lombana & Herrera
  2701 Ponce De Leon Blvd., Mezz.
  Coral Gables, FL 33134
(d) Check County Where Action Arose: ✔ MIAMI- DADE                       MONROE         BROWARD     PALM BEACH        MARTIN     ST. LUCIE       INDIAN RIVER       OKEECHOBEE      HIGHLANDS



II. BASIS OF JURISDICTION                           (Place an “X” in One Box Only)               III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                         (For Diversity Cases Only)                                          and One Box for Defendant)
    1    U.S. Government                   3                  Federal Question                                                    PTF          DEF                                           PTF DEF
           Plaintiff                             (U.S. Government Not a Party)                      Citizen of This State         ✔ 1             1     Incorporated or Principal Place          4      4
                                                                                                                                                        of Business In This State

✔   2    U.S. Government                   4                     Diversity                          Citizen of Another State             2          2   Incorporated and Principal Place          5       5
           Defendant                             (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                    Citizen or Subject of a              3          3   Foreign Nation                            6       6
                                                                                                      Foreign Country

IV. NATURE OF SUIT                    (Place an “X” in One Box Only)
          CONTRACT                                            TORTS                                    FORFEITURE/PENALTY                         BANKRUPTCY                       OTHER STATUTES
  110 Insurance                         PERSONAL INJURY                  PERSONAL INJURY               625 Drug Related Seizure               422 Appeal 28 USC 158              375 False Claims Act
  120 Marine                            310 Airplane                     365 Personal Injury -             of Property 21 USC 881             423 Withdrawal                     400 State Reapportionment
  130 Miller Act                        315 Airplane Product                 Product Liability         690 Other                                  28 USC 157                     410 Antitrust
  140 Negotiable Instrument                  Liability                   367 Health Care/                                                                                        430 Banks and Banking
  150 Recovery of Overpayment           320 Assault, Libel &                 Pharmaceutical                                                    PROPERTY RIGHTS                   450 Commerce
      & Enforcement of Judgment              Slander                         Personal Injury                                                  820 Copyrights                     460 Deportation
  151 Medicare Act                      330 Federal Employers’               Product Liability                                                830 Patent                         470 Racketeer Influenced and
  152 Recovery of Defaulted                  Liability                   368 Asbestos Personal                                                840 Trademark                          Corrupt Organizations
      Student Loans                     340 Marine                           Injury Product                                                                                      480 Consumer Credit
      (Excl. Veterans)                  345 Marine Product                   Liability                          LABOR                           SOCIAL SECURITY                  490 Cable/Sat TV
  153 Recovery of Overpayment                Liability                  PERSONAL PROPERTY              710 Fair Labor Standards               861 HIA (1395ff)                   850 Securities/Commodities/
      of Veteran’s Benefits             350 Motor Vehicle                370 Other Fraud                   Act                                862 Black Lung (923)                    Exchange
  160 Stockholders’ Suits               355 Motor Vehicle                371 Truth in Lending          720 Labor/Mgmt. Relations              863 DIWC/DIWW (405(g))             890 Other Statutory Actions
  190 Other Contract                        Product Liability            380 Other Personal            740 Railway Labor Act                  864 SSID Title XVI                 891 Agricultural Acts
  195 Contract Product Liability        360 Other Personal                   Property Damage           751 Family and Medical                 865 RSI (405(g))                   893 Environmental Matters
  196 Franchise                             Injury                       385 Property Damage               Leave Act                                                             895 Freedom of Information
                                      ✘ 362 Personal Injury -                Product Liability         790 Other Labor Litigation                                                     Act
                                            Med. Malpractice                                           791 Empl. Ret. Inc.                                                       896 Arbitration
       REAL PROPERTY                       CIVIL RIGHTS                PRISONER PETITIONS                  Security Act                        FEDERAL TAX SUITS                 899 Administrative Procedure
    210 Land Condemnation               440 Other Civil Rights           Habeas Corpus:                                                       870 Taxes (U.S. Plaintiff              Act/Review or Appeal of
    220 Foreclosure                     441 Voting                       463 Alien Detainee                                                       or Defendant)                      Agency Decision
    230 Rent Lease & Ejectment          442 Employment                   510 Motions to Vacate                                                871 IRS—Third Party 26             950 Constitutionality of State
                                                                         Sentence                                                             USC 7609                           Statutes
    240 Torts to Land                   443 Housing/                        Other:
                                        Accommodations
    245 Tort Product Liability          445 Amer. w/Disabilities -        530 General                      IMMIGRATION
    290 All Other Real Property             Employment                    535 Death Penalty            462 Naturalization Application
                                        446 Amer. w/Disabilities -        540 Mandamus & Other         465 Other Immigration
                                            Other                         550 Civil Rights                 Actions
                                        448 Education                     555 Prison Condition
                                                                          560 Civil Detainee –
                                                                          Conditions of
                                                                          Confinement
                                                                                                                                                                            Appeal to
V. ORIGIN                                                                                                                                                                   District
                                                                                                                                                                                           8 Remanded   from
                           (Place an “X” in One Box Only)
✔ 1 Original               2 Removed from                   3 Re-filed (See         4 Reinstated or           5 Transferred from                6 Multidistrict             Judge from       Appellate Court
         Proceeding                                           VI below)               Reopened                  another district                  Litigation              7 Magistrate
                             State Court                                                                           (specify)                                                Judgment

VI. RELATED/                                                 a) Re-filed Case          YES ✔ NO                 b) Related Cases              YES ✔ NO
RE-FILED CASE(S)                      (See instructions):
                                                         JUDGE                                                                DOCKET NUMBER
                                           Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION 28 USCA Sect. 2674 Federal Torts Claim Act- medical malpractice
                                           LENGTH OF TRIAL via                    days estimated (for both sides to try entire case)
VIII. REQUESTED IN                              CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                        CHECK YES only if demanded in complaint:
     COMPLAINT:                                 UNDER F.R.C.P. 23                                     33,500,000.00                                   JURY DEMAND:           Yes     ✔ No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE                                                                           SIGNATURE OF ATTORNEY OF RECORD

     January 22, 2016
FOR OFFICE USE ONLY
         RECEIPT #                                  AMOUNT                                 IFP                                JUDGE                      MAG JUDGE

                                                                                                      Save As...                      Print                       Reset
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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                               Authority For Civil Cover Sheet
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required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:
I.       (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the
official, giving both name and title.
       (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)
        (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment,
noting in this section “(see attachment)”.
II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in
one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and
box 1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of
the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.
IV.      Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than one nature
of suit, select the most definitive.
V.       Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the
petition for removal is granted, check this box.
Refiled (3) Attach copy of Order for Dismissal of Previous case. Also complete VI.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
Remanded from Appellate Court. (8) Check this box if remanded from Appellate Court.
VI.    Related/Refiled Cases. This section of the JS 44 is used to reference related pending cases or re-filed cases. Insert the docket numbers and the
corresponding judges name for such cases.

VII. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity.                    Example: U.S. Civil Statute: 47 USC 553
                                              Brief Description: Unauthorized reception of cable service
VIII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.


Date and Attorney Signature. Date and sign the civil cover sheet.
